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AO 88A (Rev. 12/20),.,',ubpoena to Testify at a Deposition in a Civil Action


                                                UNITED STATES DISTRICT COURT
                                                                                 for the
                                                                      Eastern District of Texas

                       State of Texas, et al.                                        )
                                 Plaint{ff                                           )
                                         V.                                          )     Civil Action No.        4:20-cv-957-SDJ
                            Google LLC                                               )
                                                                                     )
                               Defendant                                             )

                              SUBPOENA TO TESTIFY AT A DEPOSITION IN A CIVIL ACTION

 To:                                                 Texas Department of Motor Vehicles
             ____c_/o_Ge_riE:lral Counsel,~.c:1.l:l.~c:1.rv1_~~c:1~x,§~g_.,_1Q00 Jackson Avenue, Austin, Texas 78731_·-·
                                                               (Name ofperson to whom this subpoena is directed)

     ttf Testimony: YOU ARE COMMANDED to appear at the time, date, and place set forth below to testify at a
deposition to be taken in this civil action. If you are an organization, you must promptly confer in good faith with the
party serving this subpoena about the following matters, or those set forth in an attachment, and you must designate one
or more officers, directors, or managing agents, or designate other persons who consent to testify on your behalf about
these matters: See attached.

 Pl~~e:- Omni Austin Hotel Dowrilown Meetings                                              [ Date and Time:
         700 San Jacinto at 8th Street                                                     •                04/08/2024 9:30 am
         Austin, Texas-- 78701 ---- - ---·- -· --·- -· -
                                - --·-   ----   --                   ---




           The deposition will be recorded by this method:                          Stenographer and videographer

       □ Production:     You, or your representatives, must also bring with you to the deposition the following documents,
           electronically stored inforn1ation, or objects, and must permit inspection, copying, testing, or sampling of the
           material:




        The following provisions of Fed. R. Civ. P. 45 are attached- Rule 45(c), relating to the place of compliance;
Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to
respond to this subpoena and the potential consequences of not doing so.

Date:         03/21/2024
                                         CLERK OF COURT
                                                                                               OR

                                                     Signature of'Clerk or Deputy Clerk

The name, address, e-mail address, and telephone number of the attorney representing (name o_f'party)                                Google LLC
 ......... ··- _ -· -········-- ___              ..... _____ . __        , who issues or requests this subpoena, are:
R. Paul Yetter, 811 Main Street, Suite 4100, Houston, Texas 77002, pyetter@yettercoleman.com, (713) 632-8000

                                Notice to the person who issues or requests this subpoena
If this subpoena commands the production of documents, electronically stored information, or tangible things before
trial, a notice and a copy of the subpoena must be served on each party in this case before it is served on the person to
whom it is directed. Fed. R. Civ. P. 45(a)(4).
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AO 88A (Rev. 12/20),Subpoena to Testify at a Deposition in a Civil Action (Page 2)

Civil Action No. 4:20-cv-957-SDJ

                                                     PROOF OF SERVICE
                                                              a
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

            I received this subpoena for (name of individual and title, if any)
on (date)

            0 I served the subpoena by delivering a copy to the named individual as follows:


                                                                                     on (date)                     ; or

            0 I returned the subpoena unexecuted because:



            Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
            tendered to the witness the fees for one day's attendance, and the mileage allowed by law, in the amount of
            $

My fees are$                                      for travel and $                       for services, for a total of$    0.00


            I declare under penalty of perjury that this information is true.


Date:
                                                                                            Server's signature



                                                                                          Printed name and title




                                                                                             Server's address

Additional infonnation regarding attempted service, etc.:
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AO 88A (R,ev. 12/20) Subpoena to Testify at a Deposition in a Civil Action (Page 3)

                             Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13)
(c) Place of Compliance.                                                                (i) disclosing a trade secret or other confidential research, development,
                                                                                  or commercial information; or
  (1) For a Trial, Hearing, or Depositio11. A subpoena may command a                   (ii) disclosing an unretained expert's opinion or infonnation that does
person to attend a trial, hearing, or deposition only as follows:                 not describe specific occurrences in dispute and results from the expert's
   (A) within I 00 miles of where the person resides, is employed, or             study that was not requested by a party.
regularly transacts business in person; or                                           (C) Spec{lying Conditions as an.Alternative. In the circumstances
   (B) within the state where the person resides, is employed, or regularly       described in Rule 45(d)(3)(B), the court may, instead of quashing or
transacts business in person, if the person                                       modifying a subpoena, order appearance or production under specified
      (i) is a paity or a party's officer; or                                     conditions if the serving party:
      (ii) is commanded to attend a trial and would not incur substantial              (i) shows a substantial need for the testimony or material that cannot be
expense.                                                                          otherwise met without undue hardship; and
                                                                                       (ii) ensures that the subpoenaed person wi II be reasonably compensated.
 (2) For Other Discovery. A subpoena may command:
   (A) production of documents, electronically stored infom1ation, or              (e) Duties in Responding to a Subpoena.
tangible things at a place within 100 miles of where the person resides, is
employed, or regularly transacts business in person; and                            (l) Prmluci11g Documents or Electnmical/y Stored Infor111atio11. These
   (B) inspection of premises at the premises to be inspected.                    procedures apply to producing documents or electronically stored
                                                                                  information:
(d) Protecting a Person Subject to a Subpoena; Enforcement.                          (A) Documents. A person responding to a subpoena to produce documents
                                                                                  must produce them as they are kept in the ordinary course of business or
  (1) Avoidi11g Undue Burde11 or Expense,· Sanctions. A party or attorney         must organize and label them to correspond to the categories in the demand.
responsible for issuing and serving a subpoena must take reasonable steps            (B) Form for Producing Electronically Stored 1,iformation Not Specified.
to avoid imposing undue burden or expense on a person subject to the              If a subpoena does not specify a form for producing electronically stored
subpoena. The court for the district where compliance is required must            information, the person responding must produce it in a form or forms in
enforce this duty and impose an appropriate sanction-which may include            which it is ordinarily maintained or in a reasonably usable form or forms.
lost earnings and reasonable attorney's fees-on a pa1ty or attorney who              (C) Electronically Stored b1formation Produced in On(v One Form. The
fails to comply.                                                                  person responding need not produce the same electronically stored
                                                                                  information in more than one form.
  (2) Command to Produce Materials or Permit J11spectio11.                           (D) Inaccessible Electronically Stored Information. The person
   (A} Appearance Not Required. A person commanded to produce                     responding need not provide discovery of electronically stored infonnation
documents, electronically stored information, or tangible things, or to           from sources that the person identifies as not reasonably accessible because
permit the inspection of premises, need not appear in person at the place of      of undue burden or cost. On motion to compel discovery or for a protective
production or inspection unless also commanded to appear for a deposition,        order,. the person responding must show that the information is not
hearing, or trial.                                                                reasonably accessible because of undue burden or cost. If that showing is
   (B) Objections. A person commanded to produce documents or tangible            made, the court may nonetheless order discovery from such sources if the
things or to pem1it inspection may serve on the patty or attorney designated      requesting party shows good cause, considering the limitations of Rule
in the subpoena a written objection to inspecting, copying, testing, or           26(b )(2){C). The cou1t may specify conditions for the discovery.
sampling any or all of the materials or to inspecting the premises-or to
producing electronically stored information in the form or forms requested.        (2) Claiming Priiiilege m· Protection.
The objection must be served before the earlier of the time specified for            (A) b1formation Withheld. A person withholding subpoenaed information
compliance or 14 days after the subpoena is served. !fan objection is made,        under a claim that it is privileged or subject to protection as trial-preparation
the following rules apply:                                                         material must:
      (i) At any time, on notice to the commanded person, the serving party             (i} expressly make the claim; and
may move the court for the district where compliance is required for an                 (ii) describe the nature of the withheld documents, communications, or
order compelling production or inspection.                                         tangible things in a manner that, without revealing information itself
      (ii) These acts may be required only as directed in the order, and the       privileged or protected, will enable the parties to assess the claim.
order must protect a person who is neither a party nor a party's officer from        (B) Informal ion Produced. If information produced in response to a
significant expense resulting from compliance.                                     subpoena is subject to a claim of privilege or of protection as
                                                                                   trial-preparation material, the person making the claim may notify any party
 (3) Quashi11g or Modijyi11g a Subpoe11a.                                          that received the information of the claim and the basis for it. After being
                                                                                   noti tied, a party must promptly return, sequester, or destroy the specified
  (A) When Required. On timely motion, the court for the district where            information and any copies it has; must not use or disclose the infonnation
compliance is required must quash or modify a subpoena that:                       until the claim is resolved; must take reasonable steps to retrieve the
                                                                                   information if the party disclosed it before being notified; and may promptly
     (i) fails to allow a reasonable time to comply;                               present the information under seal to the court for the district where
     (ii) requires a person to comply beyond the geographical limits               compliance is required for a detennination of the claim. The person who
specified in Rule 45( c);                                                          produced the information must preserve the information until the claim is
     (iii) requires disclosure of privileged or other protected matter, if no      resolved.
exception or waiver applies; or
     (iv) subjects a person to undue burden.                                       (g) Contempt.
  (B) When Permitted. To protect a person subject to or affected by a              The court for the district where compliance is required-and also, after a
subpoena, the court for the district where compliance is required may, on          motion is transferred, the issuing court-may hold in contempt a person
motion, quash or modify the subpoena if it requires:                               who, having been served, fails without adequate excuse to obey the
                                                                                   subpoena or an order related to it.


                                         For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013).
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               State of Texas et al. v. Google LLC, No. 4:20-cv-00957-SDJ (E.D. Tex.)

                                       EXHIBIT A TO SUBPOENA

                                              DEFINITIONS

       1.         This document incorporates by reference all definitions in Google's April 19,

2023 subpoena to You (the "Document Subpoena"), except that "Action" refers to the lawsuit

captioned The State of Texas et al. v. Google LLC, 4:20-cv-00957-SDJ, formerly consolidated in

the multidistrict litigation, In re: Google Digital Advertising Antitrust Litigation, 2l-md-3010

(S.D.N.Y.).


       2.         To the extent the terms defined below or in the Document Subpoena are used in the

Topics set forth below, they should be construed broadly to the fullest extent of their meaning in

a good-faith effort to comply with the Federal Rules and the Local Rules. These Definitions are

provided solely for the purposes of this Subpoena and the Document Subpoena.




                                              TOPICS

       1.         Your collection and production of documents and data in response to Google's

Document Subpoena.


       2.         The authenticity of all documents and data You produced in this Action and/or in

related litigation and government or regulatory investigations, including, but not limited to, in

response to the Document Subpoena.


       3.         Whether or not you are represented by Your State's Office of Attorney General in

this Action.
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       4.      Your use of Display Advertising, Ad Tech Products, and Ad Tech Providers,

including whether You use advertising Agencies or other intermediaries to facilitate Your use of

Display Advertising or Ad Tech.


       5.      The identities of all persons in Your organization who are responsible for the

selection of Ad Tech Products and Ad Tech Providers, the purchase of Display Advertising, the

amount spent on Display Advertising, and how that amount is spent.


       6.      Your advertising budget, including where and how You spend Your advertising

budget, how much You spend on Display Advertising, how you evaluate the effectiveness of Your

spending on Display Advertising, how and why you adjust spending on Display Advertising as a

whole or on particular types of Display Advertising and who is responsible for making such

decisions.


       7.      Your actual or considered switching from one Ad Tech Product or Ad Tech

Provider to another Ad Tech Product or Ad Tech Provider, including Your reasons for switching,

the costs of switching, and the impact of switching on the effectiveness of Your advertising

Campaigns.


       8.      How You measure the effectiveness of Your Campaigns, including any tools You

use for the tracking, measurement, and assessment of Your Display Advertising purchases.


       9.      How You consider and decide what form of Display Advertising to purchase,

including the role of advertising Agencies in such decisions.


       10.     How You consider and decide which Ad Tech Products or Ad Tech Providers to

use, including Your consideration, evaluation, or comparison of Ad Tech Products or Ad Tech


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Providers and their Features, effectiveness, interoperability, and pricing, and the role of advertising

Agencies in such decisions.


       11.     Your contracts or agreements with each advertising Agency or other intermediary

You have used for the purchase of Display Advertising or use of Ad Tech, including the services

each Agency provides and how each Agency is compensated for its services.


       12.     Fees paid by You for Ad Tech or Display Advertising, including to whom those

Fees were paid, whether You contend You overpaid for any Ad Tech or Display Advertising, and

any amounts You overpaid.


       13.     Your understanding, and the basis for Your understanding, of auction mechanics

and any other factors that influence Your Bidding strategies (such as whether the auction is first-

or second-priced, expected Floor Price, manual or automated Bid optimization strategies, and

available post-auction report information) and the effect of Your Bidding strategies on Your return

on investment or return on advertising spend.


       14.     Whether You contend that Google made misrepresentations or omissions to You,

the specific omissions or misrepresentations You contend Google made, and how those

misrepresentations or omissions (if any) impacted any decision You made regarding Your

purchase of Display Advertising, use of Ad Tech, or selection of Ad Tech Product or Ad Tech

Provider.


       15.     Your communications with any federal or state law enforcement or regulatory

agency, attorney general's office, or private litigant concerning Google's Display Advertising or

Ad Tech.




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        16.      Non-privileged communications between You and Your Office of Attorney

General regarding Display Advertising, Ad Tech Products, Google, this Action, or the

Investigation.




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  Texas easy-serve, LLC                                        Amegy Bank                             24948
  1201 Louisiana, Suite 370                                    Houston TX 77227
  Houston, TX 77002                                            35-1125-1130


  Pay to the order of: Bearer                                                    Date: 3/21/2024

  Forty Seven Dollars and No Cents                                                                 $47.00 DOLLARS

  For: 320650.1




                                If you are depositing through a smart phone please endorse here:


This check constitutes a negotiable instrument pursuant to Texas Business and Commerce Code Section 3.104.
 It is valid for presentation to your bank or other financial institution, and is suitable for electronic deposit through
the smart phone application, if available, from any financial institution. If you prefer a traditional check, please
contact easy-serve at info@easy-serve.com, or 713 655 7239.
